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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

IMPERIUM INSURANCE COMPANY                                                            PLAINTIFF


VS.                                              CIVIL ACTION NO. _____________________
                                                                   1:14CV83-SA-DAS


JASON SHELTON, SHELTON & ASSCOCIATES, P.A.,
AND KAREN CAVINESS, ADMINISTRATRIX OF THE
ESTATE OF MAMIE KATHERINE CHISM, DECEASED                                         DEFENDANTS



                     COMPLAINT FOR DECLARATORY JUDGMENT

                                 [JURY TRIAL DEMANDED]


       COMES NOW Plaintiff, Imperium Insurance Company, and files this, its Complaint for

Declaratory Judgment, pursuant to FED. R. CIV. P. 57 and 28 U.S.C. §§ 2201 and 2202, against

Jason Shelton, Shelton & Associates, P.A., and Karen Caviness, Administratrix of the Estate of

Mamie Katherine Chism, deceased.

                                          A. PARTIES

       1.      Plaintiff, Imperium Insurance Company (“Imperium”), is a domestic company

organized and existing pursuant to the laws of the State of Texas, with its principal place of

business located at 800 Gessner Road, Suite 600, Houston, Texas, 77024-4538.

       2.      Defendant, Jason Shelton (“Shelton”), is an adult resident citizen of the State of

Mississippi. Shelton is licensed to practice law in Mississippi and is an attorney employed by

the Shelton & Associates law firm.




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       3.      Defendant, Shelton & Associates, P.A. (“Shelton & Associates”), is a Mississippi

professional corporation with its principal place of business located in Tupelo, Lee County,

Mississippi. Shelton & Associates can be served with process by serving its registered agent for

service of process, Jason Shelton, at 218 N. Spring Street, Tupelo, Mississippi 38802.

       4.      Defendant, Karen Caviness (“Caviness”), is an adult resident citizen of Union

County, Mississippi. Caviness is the Administratrix of the Estate of Mamie Katherine Chism,

deceased.

                              B. JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action pursuant to pursuant to 28 U.S.C. §

1332 and/or 28 U.S.C. § 1367, as the plain language of the Complaint, which includes claims for

both compensatory and punitive damages, establishes that the amount in controversy exceeds

$75,000.00, the dispute is between citizens of different states, such that there exists complete

diversity of citizenship between the parties.

       6.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b), in that one

or more of the Defendants herein are residents of the district encompassed by the United States

District Court for the Northern District of Mississippi, Aberdeen Division.

                                           C. FACTS

       7.      Imperium issued a “claims made and reported” Lawyers Professional Liability

Insurance Policy to Shelton & Associates, bearing policy number IFI 770968-00, with a policy

period from February 1, 2013 to February 1, 2014. A true and correct copy of said policy,

including all endorsements thereto, as well as the application for insurance furnished to




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Imperium by Shelton & Associates and which is made a part of the policy pursuant to the terms

of the same, is attached hereto and incorporated herein as Exhibit “A.”1

       8.      On or about January 6, 2104, Caviness filed a lawsuit against Shelton and Shelton

& Associates, P.A. (collectively “Shelton Defendants”), alleging negligence/legal malpractice

and breach of fiduciary duty in the Shelton Defendants’ representation of the Estate of Mamie

Katherine Chism (“Chism”) in a wrongful death lawsuit against the manufacturers of the

prescription drug, Vioxx (“Caviness’s Complaint”). See Exhibit “B” hereto.2 As set forth in the

Complaint, Chism’s lawsuit was initially filed in the Circuit Court of Tippah County,

Mississippi, but was subsequently removed to Federal Court, and transferred to a Multidistrict

Litigation proceeding pending in the United States District Court for the Eastern District of

Louisiana (“MDL”). Id. at ¶¶ 13-14.

       9.      The manufacturers of Vioxx, Merck & Co., Inc. (“Merck”) subsequently agreed

to settle all Vioxx claims pending in the MDL. See Exhibit “B” hereto. The Shelton Defendants

enrolled the Chism claim in the Vioxx settlement program, which required that the

plaintiffs/claimants to provide “basic information relating to the person who took Vioxx,

including proof that the person took Vioxx.” Id. at ¶¶ 16-17.

       10.     In her Complaint against the Shelton Defendants, Caviness alleges, in relevant

part, that the Shelton Defendants failed “to submit the required information to the settlement


1
 To safeguard against the disclosure of potential confidential or proprietary information, certain
matters have been redacted from the Imperium policy, including certain endorsements thereto
and the application for insurance furnished to Imperium by Shelton & Associates.
2
  As alleged in Caviness’s Complaint, the Shelton Defendants were hired to represent Chism by
Margaret Bailey (“Bailey”), Mamie Chism’s niece. See Exhibit “A” at ¶¶ 7, 11. For the sake of
clarity, when referring to the Vioxx claim filed on behalf of Chism, this Complaint for
Declaratory Judgment will refer to such as “Chism’s claim” and/or “the Chism lawsuit.”
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administrator,” which resulted in the MDL entering a Stipulation of Dismissal with Prejudice of

Chism’s claim. See Exhibit “B” hereto, at ¶ 27. Additionally, Caviness alleges that the

Stipulation of Dismissal entered by the MDL was personally signed by Shelton. Id. at ¶ 28.

Thereafter, Shelton petitioned the MDL to allow Chism to “opt-out of the settlement program”

or, alternatively, “to allow medical documentation as timely submitted.” The Complaint further

alleges that the Shelton Defendants admitted in this motion “that a claims package was not

submitted on behalf of claimant (Mamie Chism) in a timely manner pursuant to the rules of

settlement program.” Id. at 31.

       11.     Caviness’s Complaint further alleges that the motion to opt-out filed by the

Shelton Defendants acknowledges that Chism “would qualify under the settlement because she

had adequate proof of usage and died of a sudden myocardial infarction (heart attack),” and that

these representations were, in fact, true. See Exhibit “B” hereto, at ¶¶ 32-33. Caviness asserts,

however, that the Shelton Defendants’ representation to the MDL that, at the time of the

settlement program’s filing deadline, “it was believed [Chism] would not qualify for the

settlement was false,” and that the Shelton Defendants “made this misrepresentation to the court

in order to conceal their own negligence.” Id. at ¶¶ 32, 34.

       12.     According to the Caviness’s Complaint, the motion to opt-out was denied by the

MDL on October 7, 2009. See Exhibit “B” hereto, at ¶ 35. The Complaint goes on to allege that

the Shelton Defendants failed to disclose the “true circumstances surrounding the dismissal of

Mamie Chism’s claim from the Viox litigation,” and that Chism’s claim “was dismissed as a

direct result of [the Shelton Defendants’] negligence.” Id. at ¶¶ 36-37. Further, Caviness alleges

that the Shelton Defendants “fraudulently concealed their negligent conduct,” as well as their



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alleged breach of fiduciary duty, and they it was not until 2013 that the Shelton Defendants’

negligence was made known. Id. at ¶¶ 38-41.

           13.   Based on the preceding factual allegations, Caviness asserts causes of action

against the Shelton Defendants for Negligence/Legal Malpractice and Breach of Fiduciary Duty,

and “seeks a verdict for all damages incurred by [Chism’s] estate, plus all costs of court and

accrued interest at the legal rate from the date of the judgment and attorney’s fees and expenses

incurred in this action.” See Exhibit “B” hereto, at ¶¶ 42-48.

           14.   Additionally, Caviness asserts a cause of action for and/or seeks punitive damages

from the Shelton Defendants, alleging “intentional conduct in order to fraudulently conceal

Defendants’ negligence.” See Exhibit “B” hereto, at ¶ 50. Caviness further asserts that

“[p]unitive damages should be assessed against Defendants in a sufficient amount to punish them

and deter similarly situated persons and entities from committing similar acts in the future.” Id.

at ¶ 51.

           15.   As set forth in the ad damnum clause of her Complaint, Caviness “demands

judgment against Defendants in an amount in excess of $50,000.00 for compensatory damages,

punitive damages, costs, attorney’s fees and pre and post judgment interest.” Id. (last

unnumbered paragraph beginning “WHEREFORE”).

           16.   Significantly, Caviness’s Complaint also alleges that “[d]uring the 2008-09 time

period, the offices of Jason Shelton and Shelton & Associates were in turmoil.” See Exhibit “B”

hereto, at ¶ 23. Caviness further alleges that “[t]he attorneys in the office were largely absent

and delegated the task of compiling and submitting information related to the firm’s many Vioxx

clients to non-attorney staff members.” Id. Caviness additionally alleges that “[t]he staff

member(s) charged with compiling and submitting client information related to the Vioxx

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settlements did not complete the work for many firm clients,” and that “[a]s a result, the Vioxx

claims for many of the Defendants’ clients were dismissed.” Id. at ¶¶ 24-25.

       17.     Consistent with the preceding allegations, Imperium was advised by the Shelton

Defendants of an identical claim asserted against them by Mr. James Harbin (“Harbin”), who

likewise alleged that Shelton & Associates failed to timely submit the information required to

perfect his claim with the Vioxx settlement program. See Exhibit “C” hereto. Imperium was

advised of the Harbin claim on or about January 28, 2013, a few days prior to the effective date

of the Imperium policy. Id. Accordingly, and as discussed more thoroughly below, Imperium

issued a revised “INCIDENT EXCLUSION” expressly providing that “[t]his policy does not

apply to any CLAIM arising out of the facts or circumstances” associated with Harbin, among

others. See Exhibit “A” hereto. Imperium further issued a “GENERAL CHANGE

ENDORSEMENT” to its policy, which likewise provided that the parties “understood and

agreed” and that the previously mentioned “Incident Exclusion will apply for the matter

involving James Harbin in the letter from Philip W. Thomas Law Firm.” Id.

       18.     After investigation of the matters asserted in the Chism Complaint, and reviewing

the above referenced Lawyers Professional Liability Insurance Policy and applicable law,

Imperium notified the Shelton Defendants that the above referenced Lawyers Professional

Liability Insurance Policy does not afford insurance coverage for the Chism claim, but that

Imperium would provide the Shelton Defendants a defense under a reservation of rights. See

Exhibit “D” hereto. In advising the Shelton Defendants that a defense would be furnished under

a reservation of rights, Imperium specifically reserved its right to later disclaim coverage and to

seek a declaration by a court of competent jurisdiction of its rights and duties under the above

referenced Lawyers Professional Liability Insurance Policy. See Exhibit “D” hereto.

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       19.     There is presently a pending dispute between the parties over whether the

Lawyers Professional Liability Insurance Policy referenced above provides indemnity coverage

for any of the claims and damages arising from the allegations and/or acts alleged in Caviness’s

Complaint, which is ripe for a declaratory judgment determination by this Court.

       20.     As contended insureds, the Shelton Defendants, both individually and

collectively, have an interest in this action. As the plaintiff in the underlying civil action against

the Shelton Defendants, for which coverage is sought under the Lawyers Professional Liability

Insurance Policy referenced above, Caviness also has an interest in this action.

                          D.      RELEVANT POLICY PROVISIONS

       21.     The parameters of coverage under Imperium’s policy, which was in effect from

February 1, 2013 through February 1, 2014, are described, in relevant part, as follows:

       THIS IS A CLAIMS MADE AND REPORTED POLICY WITH CLAIM
       EXPENSES INCLUDED WITHIN THE LIMITS OF LIABILITY. PLEASE
       READ THE ENTIRE POLICY CAREFULLY. THE COVERAGE OF THIS
       POLICY IS LIMITED TO LIABILITY ONLY TO THOSE CLAIMS FIRST
       MADE AGAINST THE INSURED AND REPORTED IN WRITING TO THE
       COMPANY DURING THE POLICY PERIOD OR EXTENDED REPORTING
       PERIOD, IF PURCHASED.

                                                ***

       I.      INSURANCE AGREEMENTS

               A.      COVERAGE - PROFESSIONAL LIABILITY

       The Company shall pay on behalf of any INSURED all DAMAGES in excess of
       the deductible which any INSURED becomes legally obligated to pay as a result
       of CLAIMS first made against any INSURED during the POLICY PERIOD and
       reported to the Company in writing during the POLICY PERIOD or within sixty
       (60) days thereafter, by reason of any WRONGFUL ACT occurring on or after
       the RETROACTIVE DATE, if any. Coverage shall apply to any such CLAIMS
       arising out of the conduct of the INSURED’S profession as a Lawyer, or as a
       Lawyer acting in the capacity of an Arbitrator, Mediator, Neutral, Title Insurance
       Agent, Notary Public, A Governmental Affairs Advisor, Lobbyist, member,

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       director, officer of any Bar Association, its governing board or any of its
       committees, or as a member of a formal accreditation, ethics, peer review,
       licensing board, standards review or similar professional board or committee
       relating to the practice of law.

See Exhibit “A” hereto (Page 1 of 17).

       22.    The policy further provides the following relevant definitions:

       XI.    DEFINITIONS

                                               ***

       2.     CLAIM means a demand made upon any INSURED for DAMAGES,
              including, but not limited to, service suit or institution of any alternative
              dispute resolution proceedings against any INSURED. CLAIM also
              includes and is not limited to privacy claims and client network damage
              claims.

                                               ***

       4.     DAMAGES means the monetary and compensatory portion of any
              judgment, award or settlement , damages also include those amounts the
              court is permitted to impose on a debt collector as set forth in
              15USC§1692k(a)., provided always that DAMAGES shall not include:

              A.      legal fees, commissions, compensation, costs and expenses paid or
                      incurred or charged by the insured, no matter whether claimed as
                      restitution of specific funds, forfeiture, financial loss, set off or
                      otherwise and injuries that are a consequence of any of the
                      foregoing:

                              sanctions, forfeiture, penalties or criminal fines, however,
                              the COMPANY shall pay up to $10,000 in the
                              AGGREGATE for the POLICY PERIOD for awards under
                              RULE 11 of the Federal Rules of civil procedure or its
                              State counterpart;

              B.      matters deemed uninsurable;

                                               ***

       7.     INSURED means:

              A.      the NAMED INSURED;

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               B.      any past or present partner, officer, director, lawyer (including a
                       government affairs advisor or lobbyist), member of a professional
                       association, professional corporation, limited liability corporation,
                       limited liability partnership, professional limited liability
                       corporation, stockholder, employee, legal assistant, law firm
                       administrator, para legal, independent contractor or of counsel of
                       the NAMED INSURED, but only as respects professional services
                       rendered on behalf of the NAMED INSURED;

                                               ***

       18.     RELATED ACTS OR OMISSIONS means all acts or omissions in the
               rendering of legal services or non-profit. Ouside entity services that are
               logically or causally connected by a common fact, circumstance, situation,
               transaction, event, advice or decision.

       19.     RELATED CLAIMS mean all claims arising out of a single act or
               omission or arising out of related acts or Omissions in the rendering of
               legal services or non-profit outside entity services.

                                               ***

       21.     WRONGFUL ACT(S) means any actual or alleged:

               A.      act;
               B.      error,
               C.      omission;
               D.      misstatement;
               E.       misleading statements;
               F.      neglect or breach of duty, network privacy; or
               G.      personal injury or
               H       advertising injury

See Exhibit “A” hereto (Pages 5-7 of 17).3

       23.     Additionally, the policy excludes coverage for certain matters, as follows:

       XII.    EXCLUSIONS

       This policy does not apply to:

3
 The “NAMED INSURED” listed on the declarations page of the Imperium policy is “Shelton
& Associates.” See Exhibit “A” hereto. Imperium does not dispute that Defendant, Jason
Shelton, would be considered a “past or present partner, officer, director, [or] lawyer” under the
policy.
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       I.      any CLAIM that results in any final judgment or final adjudication against
               any INSURED based upon or arising out of any criminal, intentional,
               dishonest, fraudulent or malicious WRONGFUL ACT. This exclusion
               does not apply to any INSURED who is not so adjudged;

       II.     any CLAIM arising out of any WRONGFUL ACT occurring prior to the
               effective date of this policy if:

               A.     the matter had previously been reported to any insurance company
                      or,

               B.     if the INSURED at or before the effective date knew or could have
                      reasonably foreseen that such WRONGFUL ACT might be
                      expected to be the basis of a CLAIM. However, this paragraph B.
                      does not apply to any INSURED who had no knowledge of or
                      could not have reasonably foreseen that any such WRONGFUL
                      ACT might be expected to be the basis of a CLAIM; …

See Exhibit “A” hereto (Page 8 of 17).

       24.     Further, the policy’s “LIMITS OF LIABILITY AND DEDUCTIBLE" section

contains the following relevant provisions:

       V.      MULTIPLE OF INSUREDS, CLAIMS AND CLAIMANTS
               A.     The inclusion of more than one INSURED in any CLAIM or the
                      making of CLAIMS by more than one person or organization shall
                      not operate to increase the limits of liability and deductible.
               B.     Two or more CLAIMS arising out of a single WRONGFUL ACT
                      or a series of related WRONGFUL ACTS shall be treated as a
                      single CLAIM.
               C.     All such CLAIMS whenever made shall be considered first made
                      on the date on which the earliest CLAIM arising out of such
                      WRONGFUL ACT was first made and all such CLAIMS are
                      subject to the same limits of liability and deductible.
See Exhibit “A” hereto (Page 10 of 17).

       25.     Further, the “CONDITIONS” section of the Imperium policy includes the

following relevant provision:

       XI.     OTHER INSURANCE

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       Except for those CLAIMS specifically excluded pursuant to Exclusion III, if there
       is other insurance applicable to a CLAIM covered by this policy, this policy shall
       be deemed excess insurance over and above the applicable limits of liability of all
       such other insurance unless such other insurance is written only as specific excess
       insurance over the limits of liability provided in this policy.

       26.     The policy issued to the Shelton Defendants by Imperium also includes a “PRIOR

AND PENDING LITIGATION ENDORSEMENT,” which expressly states that it is “understood

and agreed” by Imperium and the Shelton Defendants that Imperium “has no duty to defend or

indemnify an INSURED for, and this policy does not apply to any CLAIM based upon or arising

out of any demand, suit, or proceeding pending, or order, decree, settlement or judgment entered

against the NAMED INSURED as of 02/01/2013 or alleging or derived from the same or

essentially the same facts as alleged in such pending or prior litigation or demand.” See Exhibit

“A” hereto.

       27.     The Imperium policy further includes an “INCIDENT EXCLUSION”

endorsement, which expressly provides that “[t]his policy does not apply to any CLAIM arising

out of the facts or circumstances” associated with a number of other individual claims, including

those associated with James Harbin. See Exhibit “A” hereto.

                              D.      DECLARATORY RELIEF

       28.     Imperium denies any obligation under the policy to provide coverage and/or any

duty to indemnify or defend any party, named or otherwise, in response to the allegations, causes

of action, and claims for damages alleged or otherwise asserted in Caviness’s Complaint.

                                            COUNT I

       29.     Imperium hereby adopts and incorporates by reference paragraphs 1-28, including

all sub-paragraphs, herein.


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       30.    Imperium is entitled to a declaratory judgment that there is no indemnity coverage

under the above referenced Lawyers Professional Liability Insurance Policy for the

Negligence/Legal Malpractice cause of action asserted in Caviness’s Complaint against the

Shelton Defendants because:

       a.     The Negligence/Legal Malpractice cause of action asserted in Caviness’s
              Complaint arises out of alleged “wrongful acts” occurring prior to the
              effective date of the Imperium policy (i.e., February 1, 2013), and the
              Shelton Defendants, at or before the effective date of the Imperium policy,
              knew or could have reasonably foreseen that such wrongful acts might be
              expected to be the basis of a claim, such that coverage for the
              Negligence/Legal Malpractice cause of action asserted in Caviness’s
              Complaint is expressly excluded under Section XII.II.B.;

       b.     Additionally, and/or, in the alternative, the Negligence/Legal Malpractice
              cause of action asserted in Caviness’s Complaint arises out of a series of
              “related acts or omissions,” and/or related “wrongful acts” that also gave
              rise to the claim(s) asserted by James Harbin, and/or are “related claims,”
              as those terms are defined under the policy, and, therefore, is considered to
              have been made at the time the claim(s) asserted by James Harbin were
              first made on January 28, 2013, which was prior to the February 1, 2013
              effective date of the Imperium Policy, such that coverage is not afforded
              for the Negligence/Legal Malpractice cause of action asserted in
              Caviness’s Complaint, pursuant to Section I.A.;

       c.     Additionally, and/or, in the alternative, the Negligence/Legal Malpractice
              cause of action asserted in Caviness’s Complaint arises out of the same or
              essentially the same facts alleged by James Harbin, demand for which was
              made on January 28, 2013 and was pending on February 1, 2013, such that
              coverage for the Negligence/Legal Malpractice cause of action asserted in
              Caviness’s Complaint is expressly excluded pursuant to the “PRIOR AND
              PENDING LITIGATION ENDORSEMENT”;

       d.     Additionally, and/or, in the alternative, the Negligence/Legal Malpractice
              cause of action asserted in Caviness’s Complaint arises out of the fact or
              circumstances alleged by James Harbin, such that coverage for the
              Negligence/Legal Malpractice cause of action asserted in Caviness’s
              Complaint is expressly excluded pursuant to the “INCIDENT
              EXCLUSION”;

       e.     Further, in the event either Jason Shelton and/or Shelton & Associates,
              P.A. were adjudged to have committed any intentional, dishonest,

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               fraudulent or malicious WRONGFUL ACT, as alleged in the Caviness
               Complaint, coverage for the Negligence/Legal Malpractice cause of action
               asserted in Caviness’s Complaint is expressly excluded under Section
               XII.I;

       f.      Coverage for the Negligence/Legal Malpractice cause of action asserted in
               Caviness’s Complaint is further subject to the provisions of Section XI. of
               the Imperium policy (“OTHER INSURANCE”), in the event there is other
               insurance applicable to any CLAIM alleged in the Caviness Complaint
               that is covered by the Imperium policy.

                                           COUNT II

       31.     Imperium hereby adopts and incorporates by reference paragraphs 1-30, including

all sub-paragraphs, herein.

       32.     Imperium is entitled to a declaratory judgment that there is no indemnity coverage

under the above referenced Lawyers Professional Liability Insurance Policy for the Breach of

Fiduciary Duty cause of action asserted in Caviness’s Complaint against the Shelton Defendants

because:

       a.      The Breach of Fiduciary Duty cause of action asserted in Caviness’s
               Complaint arises out of alleged “wrongful acts” occurring prior to the
               effective date of the Imperium policy (i.e., February 1, 2013), and the
               Shelton Defendants, at or before the effective date of the Imperium policy,
               knew or could have reasonably foreseen that such wrongful acts might be
               expected to be the basis of a claim, such that coverage for the Breach of
               Fiduciary Duty cause of action asserted in Caviness’s Complaint is
               expressly excluded under Section XII.II.B.;

       b.      Additionally, and/or, in the alternative, the Breach of Fiduciary Duty
               cause of action asserted in Caviness’s Complaint arises out of a series of
               “related acts or omissions,” and/or related “wrongful acts” that also gave
               rise to the claim(s) asserted by James Harbin, and/or are “related claims,”
               as those terms are defined under the policy, and, therefore, is considered to
               have been made at the time the claim(s) asserted by James Harbin were
               first made on January 28, 2013, which was prior to the February 1, 2013
               effective date of the Imperium Policy, such that coverage is not afforded
               for the Breach of Fiduciary Duty cause of action asserted in Caviness’s
               Complaint, pursuant to Section I.A.;

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       c.      Additionally, and/or, in the alternative, the Breach of Fiduciary Duty
               cause of action asserted in Caviness’s Complaint arises out of the same or
               essentially the same facts alleged by James Harbin, demand for which was
               made on January 28, 2013 and was pending on February 1, 2013, such that
               coverage for the Breach of Fiduciary Duty cause of action asserted in
               Caviness’s Complaint is expressly excluded pursuant to the “PRIOR AND
               PENDING LITIGATION ENDORSEMENT”;

       d.      Additionally, and/or, in the alternative, the Breach of Fiduciary Duty
               cause of action asserted in Caviness’s Complaint arises out of the fact or
               circumstances alleged by James Harbin, such that coverage for the Breach
               of Fiduciary Duty cause of action asserted in Caviness’s Complaint is
               expressly excluded pursuant to the “INCIDENT EXCLUSION”;

       e.      Further, in the event either Jason Shelton and/or Shelton & Associates,
               P.A. were adjudged to have committed any intentional, dishonest,
               fraudulent or malicious WRONGFUL ACT, as alleged in the Caviness
               Complaint, coverage for the Breach of Fiduciary Duty cause of action
               asserted in Caviness’s Complaint is expressly excluded under Section
               XII.I;

       f.      Coverage for the Breach of Fiduciary Duty cause of action asserted in
               Caviness’s Complaint is further subject to the provisions of Section XI. of
               the Imperium policy (“OTHER INSURANCE”), in the event there is other
               insurance applicable to any CLAIM alleged in the Caviness Complaint
               that is covered by the Imperium policy.

                                           COUNT III

       33.     Imperium hereby adopts and incorporates by reference paragraphs 1-32, including

all sub-paragraphs, herein.

       34.     Imperium is entitled to a declaratory judgment that there is no indemnity coverage

under the above referenced Lawyers Professional Liability Insurance Policy for the Punitive

Damages cause of action asserted in Caviness’s Complaint against the Shelton Defendants

because:

       a.      The Punitive Damages cause of action asserted in Caviness’s Complaint
               arises out of alleged “wrongful acts” occurring prior to the effective date
               of the Imperium policy (i.e., February 1, 2013), and the Shelton
               Defendants, at or before the effective date of the Imperium policy, knew
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        or could have reasonably foreseen that such wrongful acts might be
        expected to be the basis of a claim, such that coverage for the Punitive
        Damages cause of action asserted in Caviness’s Complaint is expressly
        excluded under Section XII.II.B.;

  b.    Additionally, and/or, in the alternative, the Punitive Damages cause of
        action asserted in Caviness’s Complaint arises out of a series of “related
        acts or omissions,” and/or related “wrongful acts” that also gave rise to the
        claim(s) asserted by James Harbin, and/or are “related claims,” as those
        terms are defined under the policy, and, therefore, is considered to have
        been made at the time the claim(s) asserted by James Harbin were first
        made on January 28, 2013, which was prior to the February 1, 2013
        effective date of the Imperium Policy, such that coverage is not afforded
        for the Punitive Damages cause of action asserted in Caviness’s
        Complaint, pursuant to Section I.A.;

  c.    Additionally, and/or, in the alternative, the Punitive Damages cause of
        action asserted in Caviness’s Complaint arises out of the same or
        essentially the same facts alleged by James Harbin, demand for which was
        made on January 28, 2013 and was pending on February 1, 2013, such that
        coverage for the Breach of Fiduciary Duty cause of action asserted in
        Caviness’s Complaint is expressly excluded pursuant to the “PRIOR AND
        PENDING LITIGATION ENDORSEMENT”;

  d.    Additionally, and/or, in the alternative, the Punitive Damages cause of
        action asserted in Caviness’s Complaint arises out of the fact or
        circumstances alleged by James Harbin, such that coverage for the
        Negligence/Legal Malpractice cause of action asserted in Caviness’s
        Complaint is expressly excluded pursuant to the “INCIDENT
        EXCLUSION”;

  e.    Additionally, and/or, in the alternative, coverage for the Punitive Damages
        cause of action asserted in Caviness’s Complaint is excluded pursuant to
        Section XI.4. of the Imperium policy;

  f.    Further, in the event either Jason Shelton and/or Shelton & Associates,
        P.A. were adjudged to have committed any intentional, dishonest,
        fraudulent or malicious WRONGFUL ACT, as alleged in the Caviness
        Complaint, coverage for the Punitive Damages cause of action asserted in
        Caviness’s Complaint is expressly excluded under Section XII.I;

  g.    Coverage for the Punitive Damages cause of action asserted in Caviness’s
        Complaint is further subject to the provisions of Section XI. of the
        Imperium policy (“OTHER INSURANCE”), in the event there is other


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               insurance applicable to any CLAIM alleged in the Caviness Complaint
               that is covered by the Imperium policy.

       35.     Imperium is entitled to further declaratory judgment that, under the above

referenced Lawyers Professional Liability Insurance Policy, Imperium is not required to defend

the Shelton Defendants, either individually or collectively, for the allegations, causes of action,

and claims for damages alleged or otherwise asserted in the Caviness Complaint, and is entitled

to terminate its defense.

       36.     Additionally, Imperium is entitled to a declaratory judgment that it has no duty to

pay or otherwise contribute any insurance proceeds, benefits or other monetary sums towards

any settlement, judgment, or verdict rendered against the Shelton Defendants, either individually

or collectively, for the allegations, causes of action, and claims for damages alleged or otherwise

asserted in Caviness’s Complaint.

       WHEREFORE, PREMISES CONSIDERED, Imperium Insurance Company,

respectfully prays that this Honorable Court grant a declaratory judgment in its favor and against

the Defendants, Jason Shelton, Shelton & Associates, P.A., and Karen Caviness, and order the

following:

       A.      That the Lawyers Professional Liability Insurance Policy issued by Imperium to

the Shelton Defendants does not provide indemnity coverage for the allegations, causes of

action, and claims for damages alleged or otherwise asserted in Caviness’s Complaint;

       B.      That Imperium is not required to defend the Shelton Defendants, either

individually or collectively, in said civil action under the terms, conditions, and/or exclusions of

its Lawyers Professional Liability Insurance Policy, as referenced above, and is entitled to

terminate such defenses;


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       C.      That Imperium is not required to pay or otherwise contribute any insurance

proceeds, benefits or other monetary sums towards any settlement, judgment or verdict rendered

against the Shelton Defendants, either individually or collectively, for the allegations, causes of

action, and claims for damages alleged or otherwise asserted in Caviness’s Complaint; and,

       D.      That Imperium is entitled to receive any and all other just and proper relief.

       RESPECTFULLY SUBMITTED, this the 8th day of May, 2014.

                                            IMPERIUM INSURANCE COMPANY

                                        BY: Stuart Robinson, Jr.
                                            STUART ROBINSON, JR. (MSB # 5624)
                                            LEO J. CARMODY, JR. (MSB # 100738)




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